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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

________________________________________________
                                                          §
SECURITIES AND EXCHANGE COMMISSION,                       §
                                                          §
                             Plaintiff,                   §
                                                          §
v.                                                        §       Case No.: 3:16-cv-01735-D
                                                          §
CHRISTOPHER A. FAULKNER,                                  §
BREITLING ENERGY CORPORATION,                             §
JEREMY S. WAGERS,                                         §
JUDSON F. (“RICK”) HOOVER,                                §
PARKER R. HALLAM,                                         §
JOSEPH SIMO,                                              §
DUSTIN MICHAEL MILLER RODRIGUEZ,                          §
BETH C. HANDKINS,                                         §
GILBERT STEEDLEY,                                         §
BREITLING OIL & GAS CORPORATION,                          §
CRUDE ENERGY, LLC,                                        §
PATRIOT ENERGY, INC.,                                     §
                                                          §
                             Defendants,                  §
                                                          §
and                                                       §
                                                          §
TAMRA M. FREEDMAN and                                     §
JETMIR AHMEDI,                                            §
                                                          §
                             Relief Defendants.           §
                                                          §

          PLAINFIFF SECURITIES AND EXCHANGE COMMISSION’S
            AMENDED STATUS REPORT REGARDING STATUS OF
       NEGOTIATIONS AND TIMELINE TO FILE MOTIONS FOR REMEDIES

       Plaintiff Securities and Exchange Commission (“Commission”) files this Amended

Status Report Regarding Status of Negotiations and Timeline to File Motions for Remedies as

contemplated in the Commission’s Status Report Regarding Outstanding Claims for Relief and

Administrative Closure of Case [Dkt. No. 474], and respectfully shows the Court as follows:
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                                            I.
                                    STATUS OF CLAIMS

       1.      On June 24, 2016, the Commission filed this civil action, inter alia, asserting that

Defendants committed violations of the federal securities laws. See Dkt. No. 1. On August 11,

2016, the Commission filed its First Amended Complaint. See Dkt. No. 22. Since that time the

Commission has actively litigated its claims against the defendants and relief defendants and,

when appropriate, sought and obtained interlocutory or final judgments against these parties.

       2.      On August 19, 2019, the Commission filed its Status Report Regarding

Outstanding Claims for Relief and Administrative Closure of Case (“Claims Status Report”).

See Dkt. No. 474. In that filing, the Commission outlined the current status or disposition of the

claims against the defendants and relief defendants. To summarize the relevant portions of the

Claims Status Report, the Court has entered interlocutory, bifurcated settlements with

Defendants Dustin Michael Miller Rodriguez (“Miller”), Beth C. Handkins (“Handkins”),

Gilbert Steedley (“Steedley”), and Parker R. Hallam (“Hallam”) (collectively, “Individual

Defendants”), and the Receivership Defendants Breitling Energy Corporation (“BECC”),

Breitling Oil & Gas Corporation (“BOG”), Crude Energy, LLC (“Crude”), and Patriot Energy,

Inc. (“Patriot”) (collectively, “Receivership Defendants”).     The Commission holds various,

outstanding claims for remedies against each of those parties. See Claims Status Report at I.E.

       3.      On September 26, 2019, the Commission filed its Status Report Regarding Status

of Negotiations and Timeline to File Motions for Civil Remedies (“Negotiation Status Report”).

See Dkt. No. 485.     In the Negotiation Status Report, the Commission advised that it was

engaging the Individual Defendants and the Receivership Defendants in discussions on the

potential for settled resolutions of the Commission’s outstanding claims for relief. Id. at ¶ 3.

The Commission also stated that if the Commission determined that the parties will not be able



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to resolve the outstanding claims for relief by agreement, then the Commission intended to file

appropriate motions requesting that the Court enter a final judgment ordering certain remedies

against the remaining defendants. Id. at ¶ 5. The Commission anticipated that it would be

prepared to present such motions to the Court by January 24, 2020.

       4.      On January 24, 2020, the Commission filed its Motion for Remedies and Entry of

Final Judgments as to Defendants Parker R. Hallam, Dustin Michael Miller Rodriguez, and Beth

C. Handkins, seeking final judgments disposing of all claims for relief against Hallam, Miller,

and Rodriguez. See Dkt. No. 507.

A.     Ongoing Efforts to Resolve Claims for Civil Remedies Without the Need for Court
       Intervention.

       5.      Since filing the Negotiation Status Report, the Commission has made efforts to

resolve the outstanding claims for relief against Steedley and the Receivership Defendants.

Those discussions have not yielded a final resolution, but the Commission believes that further

negotiations may resolve some, or all, claims against those remaining defendants.

B.     Proposed Schedule to Resolve Claims.

       6.      If the Commission determines that it will not be able to resolve the outstanding

claims for relief against Steedley by agreement, the Commission will file its motion for remedies

and final judgment against him. Allowing a reasonable amount of time to continue discussions

with Steedley, the Commission expects that it will be prepared to present this motion to the

Court by March 27, 2020. Conversely, if counsel for the Commission and Steedley preliminarily

agree on terms to resolve the remaining claims against him, the Commission will file a notice to

apprise the Court.

       7.      The Commission expects to resolve its claims for relief against the Receivership

Defendants by agreement.      However, an agreement with the Receivership Defendants—



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specifically as to disgorgement amounts—may be impacted by the disgorgement ordered by the

Court against all Individual Defendants. Thus, the Commission expects that settlements with the

Receivership Defendants will occur within 60 days of the entry of final judgments against all

Individual Defendants. The Commission will file a notice to apprise the Court when counsel for

the Commission and the Receiver preliminarily agree on settlement terms.

Dated: January 24, 2020                    Respectfully submitted,

                                            /s/ Jason P. Reinsch
                                           B. DAVID FRASER
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                                           SECURITIES AND EXCHANGE COMMISSION




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                                CERTIFICATE OF SERVICE

        I affirm that on January 24, 2020, I electronically filed the foregoing Status Report with
the Clerk of the Court for the Northern District of Texas, Dallas Division, by using the CM/ECF
system which will send a notice of electronic filing to all CM/ECF participants, constituting
service as provided in LR 5.1 (d).

        I further certify that on January 24, 2020, I served a true and correct copy of the
foregoing document on the following parties and persons entitled to notice that are non-CM/ECF
participants:

   Michael P. Gibson (via UPS and E-mail)        Alex More (Requested e-mail service only)
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   mgibson@bp-g.com                              Counsel for Defendant Gilbert R. Steedley
   Counsel for Defendant Beth C. Handkins


   Christopher A. Faulkner (via Certified
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   Pro Se Defendant



                                                     /s/ Jason P. Reinsch
                                                    Jason P. Reinsch




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